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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

STATE OF TEXAS, et al.,
   Plaintiffs,
v.
                                                                       No. 6:23-cv-13
BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND
EXPLOSIVES, et al.,
   Defendants.

                      STATE OF TEXAS’ NOTICE OF APPEARANCE OF COUNSEL

         Plaintiff, the State of Texas files this Notice of Appearance of Counsel and hereby notifies the

  Court that Christina Cella will appear as counsel in the above-captioned case along with counsel listed

  below. Christina Cella is a member in good standing with the State Bar of Texas and is authorized to

  practice in the Southern District of Texas. Her contact information is as follows:

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Dated February 10, 2023.                          Respectfully submitted.
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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on February 10, 2023, and that all counsel of record were served by CM/ECF.

                                              /s/ Christina Cella
                                              CHRISTINA CELLA




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